  Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 1 of 14 PageID #:1502




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
              vs.                                   )      No.     19 CR 567
                                                    )
ROBERT SYLVESTER KELLY,                             )      Judge Harry D. Leinenweber
 also known as “R. Kelly,”                          )
DERREL MCDAVID, and                                 )
MILTON BROWN,                                       )
 also known as “June Brown”                         )

       GOVERNMENT’S RESPONSE TO DEFENDANT KELLY’S
   MOTION TO BAR GOVERNMENT’S CHILD SEXUAL ABUSE EXPERT

      The government provided notice of its intention to call Dr. Derrel Turner as an

expert witness at trial.1 The topics about which Dr. Turner will testify fall into two

main categories: (1) the grooming behavior of sex offenders against children; and (2)

the victims’ delayed or partial disclosure of the abuse. Dr. Turner has been qualified

as an expert to testify about both topics in other federal and state cases.

      Defendant Robert Kelly has moved to bar Dr. Turner’s testimony or,

alternatively, requests that this Court conduct a hearing pursuant to Daubert v.

Merrell Dow Pharmaceutical, Inc., 509 U.S. 579 (1993). R. 243.2 Kelly’s motion

should be denied, however, because Dr. Turner’s testimony satisfies the

requirements of Federal Rule of Evidence 702 and no Daubert hearing is required.



1 The government provided notice pursuant to Fed.R.Crim.P. 16(a)(1)(G) on July 1, 2022 by

letter to all defense counsel. The government provided a supplement to counsel by letter on
August 8, 2022. Copies of these letters are attached as Exhibits 1 and 2, respectively.

2 Kelly filed his motion on July 31, 2022, after the July 1, 2022 letter and before receiving the

August 8, 2022 letter. The government, however, identified the same proposed topics of
testimony in both letters.
                                               1
     Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 2 of 14 PageID #:1503




I.       BACKGROUND

         The superseding indictment charges Kelly with multiple offenses related to

his sexual abuse of children. These children ranged in age between 13 and 17 at the

time of the abuse. Specifically, Kelly is charged in separate counts with enticing

Minor 1, Minor 3, Minor 4, Minor 5, and Minor 6 to engage in sexual activity, in

violation of 18 U.S.C. § 2422(b). Kelly is also charged with four counts of enticing

Minor 1 to engage in sexually explicit conduct for the purpose of producing four

videos, in violation of 18 U.S.C. § 2251(a).

         At trial, the government anticipates calling Minor 1, Minor 3, Minor 4, and

Minor 5 to testify about how they met Kelly while they were children and their

interactions with Kelly before and during the period in which they engaged as

children in sexual acts with him. These minors will testify that Kelly repeatedly

engaged in sexual acts with them and that they did not disclose Kelly’s sexual

conduct during this period.

         The government intends to call Dr. Turner before the testimony of any of the

minors at trial. The purpose of Dr. Turner’s testimony is to introduce the jury to a

world wholly unfamiliar to them. Dr. Turner’s testimony, which is based on Dr.

Turner’s extensive experience with both sex abusers and child victims of sex abuse,

will describe how sex abusers attract children to them, persuade or coerce children

to engage in sex acts with them, and prevent the children from making an outcry

about the abuser’s sexual conduct. This general testimony will allow the jury to

assess on its own, after Dr. Turner concludes his testimony, the testimony of Minors



                                           2
  Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 3 of 14 PageID #:1504




1, 3, 4, and 5, including their description of how they met Kelly and how they came

to engage in sexual conduct with him. Dr. Turner’s testimony will not focus on the

facts of this case. Dr. Turner has no knowledge about the facts of this case and he

will not render any specific opinions as to Kelly or Kelly’s actions with Minors 1, 3,

4, and 5.3

       Kelly claims in his motion that Dr. Turner lacks the expertise to testify about

victim dynamics such as a victim’s reaction to sexual abuse. R. 243. Kelly also claims

that the testimony will not help the jury and that the testimony is not based on

sufficient facts or data or reliable principles or methods. None of these arguments

have merit. Dr. Turner has extensive experience with both minor victims and

perpetrators of sexual abuse. The purpose of Dr. Turner’s testimony, to educate the

jury without opining about the specific facts in this case, is wholly appropriate. See,

e.g., Rule 702 Advisory Committee Notes (2000 Amendments) (“Yet it might also be

important in some cases for an expert to educate the factfinder about general

principles, without ever attempting to apply these principles to the specific facts of

the case.”).




3 Dr. Turner has not interviewed any of the victims or defendants in this case. Dr. Turner

has not been provided any evidence in this case, including reports related to the minors
expected to testify at trial.
                                            3
  Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 4 of 14 PageID #:1505




II.   LEGAL STANDARD

      The admissibility of expert testimony is governed by Fed. R. Evid. 702. This

rule provides as follows:

      A witness who is qualified as an expert by knowledge, skill, experience,
      training or education may testify in the form of an opinion or otherwise if:

      (a) the expert’s scientific, technical, or other specialized knowledge will help
          the trier of fact to understand the evidence or to determine a fact in issue;

      (b) the testimony is based on sufficient facts or data;

      (c) the testimony is the product of reliable principles and methods; and

      (d) the expert has reliably applied the principles and methods to the facts of
          the case.

Fed. R. Evid. 702. “The Supreme Court has made clear that in applying Rule 702,

district courts serve a gatekeeping function and must ensure that the expert

testimony at issue ‘both rests on a reliable foundation and is relevant to the task at

hand.’” United States v. Cruz-Velasco, 224 F.3d 654, 660 (7th Cir. 2000), quoting

Daubert, 509 U.S. at 597. In Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999),

the Court explained that when testing the reliability of an expert opinion, courts must

adjust the Daubert “gatekeeper” factors to fit the facts of the particular case at issue.

526 U.S. at 147. It is well established that “any” specialized knowledge may be the

subject of expert testimony. Id. The trial judge enjoys broad discretion in determining

whether the factors listed in Daubert reasonably measure reliability in a given case.

Id. at 153.




                                           4
    Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 5 of 14 PageID #:1506




III.    ARGUMENT

        Dr. Turner’s testimony satisfies the elements of Rule 702 that apply to his

proposed testimony. Dr. Turner is qualified, his testimony is based on sufficient facts

and data, and his testimony is the product of reliable principles and methods.4

        A.    Dr. Turner is Qualified to Testify as an Expert Witness

        Dr. Turner has a bachelor’s degree in psychology and a master’s degree in

counseling psychology from McNeese State University. Dr. Turner has also earned

a doctoral degree in clinical psychology from Sam Houston State University. Dr.

Turner is a licensed clinical psychologist specializing in forensic psychology and sex

offending. Dr. Turner has spent approximately 18 years in the field of clinical

psychology.

        Dr. Turner has extensive experience conducting forensic and trial evaluations

of adults and juveniles. See Ex. 2 at 1. Dr. Turner has treated hundreds of victims

of sexual abuse. Id. Dr. Turner has also interviewed sex offenders and has served as

a staff psychologist in a federal prison setting. Dr. Turner, among many other

consulting positions, serves as a consultant to various federal agencies, including the

FBI, NCIS, and the Department of Homeland Security, as well as various state and local

law enforcement agencies, concerning risk assessment of sexual offenders and the

behaviors of offenders and victims of childhood sexual assault. See Dr. Turner CV

(attached to Ex. 1). Dr. Turner has also authored multiple articles about sex offenders




4
 The last Rule 702 element, that the expert has reliably applied the principles and methods
to the facts in the case, does not apply here since Dr. Turner has not been provided with any
facts about the case and his testimony will not be based on those facts.
                                             5
  Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 6 of 14 PageID #:1507




and victims, including “Grooming and Other Offense-Related Behaviors in Child

Molestation Cases: An Analysis of Offender Self-Reported Behaviors and Beliefs.”

Dr. Turner has also testified as an expert in over a dozen federal criminal

proceedings.5 See Ex. 2 at 1.

       Kelly argues that Dr. Turner “does not have sufficient experience or

specialized knowledge to speak to the so-called ‘dynamics’ of victims of child sexual

abuse” because he “does not apparently treat child abuse victims and has never

published or conducted any research in the area of behavior of child abuse victims.”

R. 243 at 4. But, as described in the August 8, 2022 supplemental notice, Dr. Turner

has treated and interviewed “hundreds” of victims of sexual abuse. The Seventh

Circuit recognizes that requisite expertise can be acquired through practice,

experience, or education. See United States v. Parra, 402 F.3d 752, 758 (7th Cir.

2005) (“[W]e have recognized that while extensive academic and practical expertise

in an area is certainly sufficient to qualify a potential witness as an expert, Rule 702

specifically contemplates the admission of testimony by experts whose knowledge is


5 The Ninth Circuit recently found Dr. Turner qualified and his expert testimony helpful to

the jury in understanding the evidence and determining facts related to child sexual
enticement under 18 U.S.C. § 2422(b). United States v. Telles, 18 F.4th 290, 302-03 (9th Cir.
2021). There, as here, defendant challenged Dr. Turner’s testimony on that basis that “the
testimony concerned behaviors associated with sex offenders and their ‘groomed’ victims that
are not scientifically probative of the statutory elements and issue the jury was tasked to
resolve.” Id. 302-03. In affirming the district court’s denial of the challenge, the Ninth Circuit
approved of Dr. Turner’s testimony because it “explained for the jury that [defendant’s]
behavior with [victim] could be innocent behavior, or it could actually have been part of his
plan to engage in illicit activity with her.” Id. at 303 (internal quotations and citations
omitted). In Telles, as the government intends to happen here, “Dr. Turner did not testify as
to [defendant] or [victim] specifically—he merely gave a straightforward account of relevant
background information based on his own knowledge and experience.” Id. (internal
quotations and citations omitted).


                                                6
  Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 7 of 14 PageID #:1508




based on experience.”) (internal quotations and citations omitted); see also United

States v. Conn, 297 F.3d 548, 556 (7th Cir. 2002) (observing that the Advisory

Committee notes to Rule 702 specifically provide that “[i]n certain fields, experience

is the predominant, if not sole, basis for a great deal of reliable expert testimony”).

Dr. Turner has also conducted multiple presentations on the impact of sexual abuse

on child victims.6 Dr. Turner’s many years of experience, which includes repeated

and firsthand observation of both sex offenders and child victims of sex abuse, makes

him well qualified to testify as an expert witness in this case.

       B.     Dr. Turner’s Testimony Will Be Helpful to the Jury

       Counts One through Four allege that Kelly “knowingly employ[ed], use[d],

persuade[d], induce[d], entice[d], and coerce[d]” Minor 1 to engage in sexually explicit

conduct to produce a visual depiction of the conduct in violation of Title 18, United

States Code, Section 2251(a). R. 93. Counts Ten through Thirteen charge Kelly with

using the mail or other means of interstate or foreign commerce to “knowingly

employ, use, persuade, induce, entice, and coerce” Minors 1, 3, 4, 5, and 6 to engage

in sexually explicit conduct in violation of Title 18, United States Code, Section

2422(b). Id. Kelly’s calculated behavior to prepare a child for future sexual

encounters, known as “grooming,” is relevant to these charges. See, e.g., United States




6 Dr. Turner, for example, was the keynote speaker and presenter at the 2019 Utah Children’s

Justice Symposium, Salt Lake City, Utah, on May 14, 2019 on the topic of “Grooming
Behaviors of Child Molesters and Impact on Behavior and Disclosure of Victims,” and an
invited speaker at the 2013, 2015, 2016, 2019, and 2021 Protect Our Children Conference in
Omaha, Nebraska, at which Dr. Turner presented on the topic of “Understanding Counter-
Intuitive Behaviors of Victims of Childhood Sexual Assault and Grooming Behaviors of
Offenders.” See Dr. Turner CV (attached to Ex. 1).
                                             7
  Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 8 of 14 PageID #:1509




v. Berg, 640 F.3d 239, 252 (7th Cir. 2011) (“[Section 2422(b))] targets the sexual

grooming of minors as well as the actual sexual exploitation of them. The statute’s

focus is on the intended effect on the minor rather than the defendant’s intent to

engage in sexual activity.”).

      The techniques used by a sex offender to influence a child to engage in sex

with them is specialized information not within the knowledge of the average juror.

Dr. Turner’s expert testimony will help the jury to understand the evidence and to

determine a fact in issue. The Seventh Circuit in United States v. Dingwall, 6 F.4th

744, 754 (7th Cir. 2021), noted that, “in prosecutions for sexual abuse of minors,

courts frequently admit expert evidence about ‘grooming’ to help the jury

understand how sex abusers of children develop an emotional relationship with a

minor before initiating sexual activity.” See also United States v. Halamek, 5 F.4th

1081, 1089 (9th Cir. 2021) (testimony of FBI agent on grooming assisted the jury’s

understanding about how seemingly innocent parental behavior was part of a plan

to engage in sexual activity with a child); United States v. Batton, 602 F.3d 1191,

1201 (10th Cir. 2010) (psychologist’s expert testimony on sex offenders using their

position as close friends or family “to groom” their victims to trust them is

“specialized information” not with in the average juror’s general knowledge); United

States v. Hitt, 473 F.3d 146, 158 (5th Cir. 2006) (psychologist’s testimony on

grooming behaviors of sex offenders was admissible expert testimony on the modus

operandi of sex offenders); United States v. Leroy, 787 Fed. Appx. 74, 79-80 (3d Cir.

2019) (expert witness’ testimony about common behavior of child-sexual abuse


                                          8
    Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 9 of 14 PageID #:1510




victims and common techniques of abusers “was relevant because it assisted the jury

in learning about specialized topics—for example, she explained that the most

significant factor in whether a victim comes forward is his relationship to the

offender, that the use of alcohol or drugs can shame the victim into feeling he cannot

come forward, and that many offenders ingratiate themselves to child victims by

allowing victims to ‘act more grown up around them’”); United States v. Romero, 189

F.3d 576, 585 (7th Cir. 1999) (FBI agent’s expert testimony on the traits of

“preferential sex offenders” was permissible because “most jurors would have little

experience” in how child sex offenders operate).7


7
  In United States v. Gonyer, 2012 WL 3043020 (D. Me. July 24, 2012), the district court found
that the Seventh Circuit’s conclusion in Romero that expert testimony was necessary to dispel
“from the jurors’ minds the widely held stereotype of a child molester as a ‘dirty old man in a
wrinkled raincoat’” (189 F.3d at 584) was no longer applicable given the public’s better
understanding of child molesters ten years after the Romero case was decided. 2012 WL
3043020 *4. Kelly makes a similar argument here by referencing in his motion the Me Too
movement. R. 243 at 7. The district court in United States v. Miller, 2022 WL 277345 (E.D.
Tenn. Jan. 28, 2022), after considering Gonyer’s reasoning, nonetheless allowed an agent to
provide expert testimony about the behaviors of sex offenders and their effect on the child
victims and the victims’ caregivers. The Miller court found such testimony to likely not be
within the knowledge of the average layperson. The court stated:

        “While the Court agrees that matters of interpersonal relationships are well within
        the ken of the ordinary juror, here [the agent] will testify about counterintuitive
        behaviors, i.e., how sex offenders and their child victims behave in ways that are
        contrary to common experience and why. The Court finds this testimony is
        particularly probative in this case because Defendant intends to challenge the
        veracity and consistency of the alleged victim’s statements about the offenses. . . .
        Moreover, the undersigned disagrees that [the agent’s] testimony infringes on the
        jury’s province of determining intent or is somehow improper character evidence.
        Instead, her proposed testimony on grooming behaviors and their effects educates the
        jury on the effects of seemingly innocuous or counterintuitive behaviors and puts the
        jury in a better position to evaluate the factual testimony.

2022 WL 277345 *6. The Miller court allowed the proposed expert testimony on sex offenders
and grooming so long as the expert did not apply the testimony to the specific facts in the
case or opine whether the defendant’s conduct constituted grooming behavior. Here, as in
Miller, much of the conduct at issue is counterintuitive, not intuitive and known to lay people,
                                               9
  Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 10 of 14 PageID #:1511




       Expert testimony about grooming has been regularly admitted in sex

trafficking trials in this district involving both minor and adult victims. The courts

have found that such testimony was important to inform the jury about the common

dynamics between the trafficker and his victims. See, e.g., United States v.

Biancofiori, Case No. 16 CR 306, 2018 WL 2463387, at *3 (N.D. Ill. June 1, 2018);

United States v. Nichols, Case No. 15 CR 756, 2019 WL 398775 (N.D. Ill. 2019);

United States v. Arnold, Case No. 18 CR 206, R. 122 (N.D. Ill. Feb. 14, 2022).

       The government will also question Dr. Turner about delayed disclosure of

sexual abuse by victims. Expert testimony geared toward explaining to the jury

victim-abuser dynamics, including the delayed disclosure of abuse to authorities and

family members, has also been consistently approved by the courts.8 “[E]xpert

testimony about how individuals generally react to sexual abuse—such as not

reporting the abuse and not attempting to escape from the abuser—helps jurors

evaluate the alleged victim’s behavior.” United States v. Johnson, 860 F.3d 1133,

1140 (8th Cir. 2017). See also United States v. Resnick, Case No. 11 CR 68, 2019 WL

6912334, at *7 (N.D. Ind. Dec. 19, 2019) (discussing government’s use of expert at

child exploitation trial who testified about “the ways in which offenders ‘groom’ child

victims” and that “delayed disclosure of abuse by child victims is common”); United



and the jury will benefit from expert testimony. Defendant Kelly has made clear his intent
to challenge the veracity of the minor victims and, for this reason alone, the testimony about
behaviors of sex offenders through Dr. Turner is particularly probative and appropriate.

8 Kelly acknowledges that “Dr. Turner can testify generally about delayed reporting of sexual

abuse (R. 243 at 6),but claims Dr. Turner “cannot say whether his understanding of ‘delayed
reporting’ has any relevance to the facts of this case.” Id. Dr. Turner, however, as noted, is
not aware of the specific facts of this case.
                                             10
 Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 11 of 14 PageID #:1512




States v. Bennett, 258 F. App’x 671, 679 (5th Cir. 2007) (approving a district court’s

decision “to admit expert testimony regarding behavior sometimes exhibited by

sexual abuse victims in returning to their abusers”). Here, Dr. Turner’s testimony

“would be helpful in assisting the jury regarding matters beyond the understanding

of the average lay person: to wit, why an alleged child sexual abuse victim might

wait years to disclose the alleged criminal act.” United States v. Williams, Case No.

7:09 CR 8, R. 117 (M.D. Ga. Aug. 30, 2010).

      Kelly’s assertion that expert testimony will not be helpful here because the

“trier of fact need only decide whether [defendant Kelly] used a minor to create a

visual depiction of sexually explicit conduct” (R. 243 at 4) is both mistaken and unduly

narrow. The government, given the charges in the case, must show Kelly’s enticement

of the minors to engage in sexual activity. Similarly, Kelly’s argument that expert

testimony is not needed because consent is not at issue is misplaced. Id. at 4-5. Kelly’s

conduct as to the minor victims is at issue, even if the minor’s consent is not, and

expert testimony as to a sex offender’s behavior and techniques will be helpful to the

jury in assessing the facts in the case and the credibility of the minor witnesses. This

is especially so here where, as noted, much of the minors’ conduct will be

counterintuitive to a layperson without the basis of information Dr. Turner can

provide. See, e.g., United States v. Isabella, 918 F.3d 816, 844 n.26 (10th Cir. 2019)

(“Expert testimony on grooming can be admissible to explain the ‘modus operandi’ of

sex offenders. The methods sex offenders use are not necessarily common

knowledge.”).



                                           11
 Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 12 of 14 PageID #:1513




      C.     Dr. Turner’s Testimony Is Reliable and Based on Sufficient
             Facts and Data

      “The test of reliability is ‘flexible’ and Daubert’s list of specific factors neither

necessarily nor exclusively applies to all experts or in every case.” Sundstrom v.

Frank, 630 F. Supp. 2d 974, 979 (E.D. Wis. 2007) (quoting Kumho, 526 U.S. at 147);

see also Heller v. Shaw Indus., Inc., 167 F.3d 146, 155 (3d Cir. 1999) (“Not only must

each stage of the expert’s testimony be reliable, but each stage must be evaluated

practically and flexibly without bright-line exclusionary (or inclusionary) rule.”).

“[T]he law grants a district court the same broad latitude when it decides how to

determine reliability as it enjoys in respect to the ultimate reliability

determination.” Kumho, 526 U.S. at 142 (emphasis in original). Trial courts are

entrusted with ensuring the proposed expert possesses genuine expertise in their

field and that their testimony “adheres to the same standards of intellectual rigor

that are demanded in [their] professional work.” Tyvus v. Urban Search Mgmt., 102

F.3d 256, 263 (7th Cir. 1997).

      The proposed subjects of Dr. Turner’s testimony satisfy these standards. The

theories of sexual abuse behavior about which Dr. Turner will testify have been

extensively tested and peer reviewed by the scientific community. See, e.g., Eli

Somer and Sharona Szawarcberg, Variables in Delayed Disclosure of Childhood

Sexual Abuse, American J. of Orthopsychiatry, 71(3) (July 2001); Martine Herbert,

Marc Tourigny, Mireille Cyr, Pierre McDuff, and Jacques Joly, Prevalence of

Childhood Sexual Abuse and Timing of Disclosure in a Representative Sample of

Adults from Quebec, Canadian Journal of Psychiatry, 54(9) (September 2009); N.

                                            12
     Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 13 of 14 PageID #:1514




Bennet and W. O’Donohue, The Construct of Grooming Child Sexual Abuse:

Conceptual and Measurement Issues, J. of Child Sexual Abuse 23(8) (2014). Dr.

Turner has previously testified about the testing, peer review, and scientific

consensus of these theories as well as to variables that contribute to or detract from

the existence of such dynamics, and the government has produced to Kelly

transcripts of Dr. Turner’s prior testimony on these points.9 Dr. Turner’s proposed

testimony is not just “anecdotal” in nature, as Kelly claims, but is instead based on

Dr. Turner’s extensive experience as a clinical and forensic psychologist, and

research in his field.10 R. 234 at 5-6.

         D.    No Daubert Hearing is Necessary

         Kelly requests that this Court conduct a Daubert hearing to determine

whether Dr. Turner’s testimony is proper. R. 243 at 7. No hearing is required,

however, and this Court can and should deny Kelly’s motion without one. The

district court need not conduct a Daubert hearing “’where the reliability of an

expert’s methods is properly taken for granted.’” United States v. Tingle, 880 F.3d

850, 854 (7tth Cir.), cert. denied, 138 S.Ct. 1567 (2018), quoting Kumho, 526 U.S. at

152. As noted, courts have consistently approved the use of expert testimony in child

abuse cases to explain concepts such as grooming and delayed disclosure. Dr. Turner




9 These cases include United States v. Ebert, Case No. 19 CR 244 (W.D.N.C. 2020); United

States v. Telles, Case No. 16 CR 424 (N.D. Ca. 2019); and United States v. Disney, Case No.
12 CR 287 (E.D. Pa. 2013).

10
  At least one of Dr. Turner’s publications, “Grooming and Other Offense-Related Behaviors
in Child Molestation Cases: An Analysis of Offender Self-Reported Behaviors and Beliefs,”
has been peer reviewed. See Ex. 2 at 2.
                                            13
  Case: 1:19-cr-00567 Document #: 260 Filed: 08/08/22 Page 14 of 14 PageID #:1515




is qualified through his experience and his testimony is based on that experience as

well as on widely recognized research in his field. Dr. Turner is also testifying to

general information and will not render any opinions about Kelly or based on the

specific facts in this case.

IV.    CONCLUSION

       For the foregoing reasons, the government requests that the Court deny

Defendant Robert Sylvester Kelly’s motion to exclude the expert testimony of Dr.

Darrel Turner and his request for a hearing pursuant to Daubert v. Merrell Dow

Pharmaceuticals, 509 U.S. 579 (1993).


                                        Respectfully submitted,


                                        JOHN R. LAUSCH, JR.
                                        United States Attorney

                                By:     /s/ Brian Williamson
                                        BRIAN WILLIAMSON
                                        JEANNICE APPENTENG
                                        ELIZABETH POZOLO
                                        JASON JULIEN
                                        Assistant United States Attorney
                                        219 South Dearborn Street
                                        Chicago, Illinois 60604
                                        (312) 353-8897

Date: August 8, 2022




                                         14
